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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 16-Civ-20394-COOKE/TORRES

  YAMIL RUIZ,

          Plaintiff,

  vs.

  YAKIM MANASSEH JORDAN, a/k/a
  THE PROPHET MANASSEH JORDAN,
  individually, and MANASSEH JORDAN
  MINISTRIES, INC., a New York Religious
  Corporation,

        Defendants.
  __________________________________/
                                   ORDER OF DISMISSAL
          THIS CASE has been DISMISSED with prejudice pursuant to Federal Rule of Civil
  Procedure 41(a)(1)(A)(ii), with each party to bear his or its own attorney’s fees and costs,
  except as otherwise agreed in their Settlement Agreement. See Stip. for Dismissal with
  Prejudice, ECF No. 33.      The Court shall retain jurisdiction to enforce the terms and
  conditions of the Settlement Agreement. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d
  1272 (11th Cir. 2012).
          DONE and ORDERED in Chambers, at Miami, Florida, this 21st day of September
  2016.




  Copies furnished to:
  Edwin G. Torres, U.S. Magistrate Judge
  Counsel of Record
